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                                    AMLONG & AMLONG, P.A.
                                         500 Northeast Fourth Street
                                       Fort Lauderdale, FL 33301-1154
                                          (954)462-1983 Telephone
                                           (954)523-3192 Facsimile



                                              May 16, 2016

                                                                           Billed through     05/16/2016
Patterson, Scott                                                         Invoice Number            21813




PATTERSON, SCOTT vs. American Airline (WRA)(HOUR)(T/E)
002219 00000    HOUR

Balance forward as of bill dated      01/01/1900                           $0.00
Payments received since last bill                                          $0.00
                                                                -----------------
Net balance forward                                                        $0.00

FOR PROFESSIONAL SERVICES RENDERED
01/14/16 WRA    Phone conference with client re: need for               0.30 hrs    550 /hr       $165.00
                expedited USSERA complaint, FAA clernance
03/29/16 WRA    Conference with Scott , FIrst Officer with              0.70 hrs    550 /hr       $385.00
                American Airlines (referred by Cindy Beyer)
                re: USERRA and ADA discrimination
04/12/16 WRA    Phone conference with Glenn R. Caddy,                   0.30 hrs    550 /hr       $165.00
                Ph.D., re: American Airline Pilot's
                neuropsychologist's evaluation of client
04/13/16 WRA    Receive and review correspondence from Dr.              0.20 hrs    550 /hr       $110.00
                Caddy re: e-mail he propose to send to
                California neuropsychologist (Patterson)
04/13/16 WRA    Phone conference with Glenn R. Caddy re:                0.50 hrs    550 /hr       $275.00
                Scott Patterson re: clinical interview
04/22/16 WRA    Receive and review correspondence from                  0.50 hrs    550 /hr       $275.00
                client, from his union lawyer to client and
                between the client and the AA psychologist
04/22/16 WRA    Phone conference with Glenn R. Caddy,                   0.30 hrs    550 /hr       $165.00
                Ph.D., re: obtaining records from California
                neuropsychologist
04/23/16 WRA    Receive and review correspondence from Ed               0.10 hrs    550 /hr        $55.00
                Bercaw, Ph.D., re: he will send records,
                underlying data to WRA and Dr. Caddy
04/27/16 WRA    Receive and review correspondence from                  0.40 hrs    550 /hr       $220.00
                client re: neuropsychological evaluation;
                phone call with client
05/01/16 WRA    Phone conference with Glenn r. Caddy,                   0.20 hrs    550 /hr       $110.00
                Ph.D. and client re: Dr. Caddy's
                psychological report
05/03/16 WRA    Phone conference with client re:; AA's                  0.40 hrs    550 /hr       $220.00
                neuro-psychology
05/04/16 WRA    Phone conference with Glenn R. Caddy,                   0.40 hrs    550 /hr       $220.00
                Ph.D. re: his evaluation of client
05/12/16 WRA    Receive and review correspondence from                  0.60 hrs    550 /hr       $330.00



                   ATTACHMENT 9
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PATTERSON vs. American Airline                 Invoice No. 21813                                         Page 2
                         client re: his correspondence, conversations
                         with Union, Capt. Stillhouse and termination
                         / demotions of his antagonists
                                                                                                   --------------------
           Total fees for this matter                                                                   $2,695.00


                                                                                                   --------------------


BILLING SUMMARY

           Amlong, William R.                                       4.90 hrs     550.00 /hr          $2,695.00


                                          TOTAL FEES                4.90 hrs                         $2,695.00
                               TOTAL DISBURSEMENTS                                                        $0.00
                                LESS PREPAID AMOUNT                                                 $2,695.00 CR
                                                                                            --------------------
                      TOTAL CHARGES FOR THIS BILL                                                         $0.00
                            NET BALANCE FORWARD                                                           $0.00
                                                                                                --------------------
                         PLEASE PAY THIS AMOUNT                                                            $0.00

       PREPAID BALANCE $2,305.00
         TRUST BALANCE $1,000.00


  Please notify us within 10 days of any questions or dispute with this bill. Otherwise, we will
                   assume you agree that these charges are fair and correct.
=================================================================================================================
                        Additional costs, if any, will be billed separately.
    We now accept MasterCard, Visa, Discover and American Express as form of payment.
   To make a payment, please visit our website, www.TheAmlongFirm.com and click on the
 "Contact Us" in the lower right hand corner of the homepage. The "CLICK TO PAY" option will
                         appear at the bottom of the resulting window.
